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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


    DONNA CURLING, et al.,                       :
                                                 :
                                                 :
         Plaintiffs,                             :
                                                 :
    v.                                           :           CIVIL ACTION NO.
                                                 :           1:17-CV-2989-AT
    BRIAN KEMP, et al.,                          :
                                                 :
                                                 :
         Defendants.                             :


                                            ORDER

         This matter is before the Court on the State Defendants’1 Motion to Stay

[Doc. 320]. Both sets of Plaintiffs have filed Responses in opposition to the

Motion.

         The State Defendants move to stay all proceedings in this case pending

resolution of their appeal of the Court’s September 17, 2018 Order. In that Order,

the Court denied in part the State Defendants’ Motion to Dismiss and the Fulton

County Defendants’3 Motion to Dismiss, which raised jurisdictional issues in

connection with their defenses of Eleventh Amendment immunity, legislative

immunity, and Plaintiffs’ standing under Article III of the United States



1 The Secretary of State in his official capacity, the State Election Board members in their official
capacities, and the State Election Board.
3 Richard Barron in his official capacity, the Fulton County Board of Registration and Elections,

and members of the Fulton County Board of Registration and Elections.
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Constitution. The Court held that the Eleventh Amendment does not bar Plaintiffs’

claims and that Plaintiffs had established standing in this case. Specifically, the

Court found that that Plaintiffs’ legal challenge and request for prospective

injunctive relief fell within the established exception to Eleventh Amendment

immunity under Ex parte Young4 and progeny. See, e.g., Summit Med. Assoc. P.C.

v. Pryor, 180 F.3d 1326, 1336-37 (11th Cir. 1999) (noting that under Ex parte

Young “there is a long and well-recognized exception to [Eleventh Amendment

immunity] for suits against state officers seeking prospective equitable relief to end

continuing violations of federal law”) (emphasis in original). Second, as to the

Defendants’ assertion of legislative immunity, the Court notes that the State

Defendants buried their legislative immunity argument in their 60-page Motion to

Dismiss – limiting their argument to two sentences and a footnote within the

section of their Motion discussing Eleventh Amendment immunity. While the

Court did not expressly mention legislative immunity in its Order, it addressed the

substance of the State Defendants’ argument regarding legislative immunity and

found it wanting.5


4 209 U.S. 123 (1908).
5 The State Defendants’ Motion to Dismiss argues that “state law, not the [State Election Board]
requires use of a DRE system of voting,” and therefore “to the extent Plaintiffs’ suit is premised
on the [State Election Board’s] promulgation of rules and regulations, the claim is barred by
legislative immunity.” (State Defs.’ Mot. to Dismiss Third Am. Compl., Doc. 234-1 at 47; see also
State Defs.’ Mot. to Dismiss Second Am. Compl., Doc. 83-1 at 13.) In its Order, the Court held
that state law “does not require the use of DREs as Defendants claim it does.” (Doc. 309 at 23
(emphasis in original).) Rather, “[w]hen read together, the state statute and the State Election
Board rule indicate that the State Defendants have chosen to enforce state law so as to generally
require the use of DREs in elections statewide.” (Id. at 24 (emphasis added).) As the Curling
Plaintiffs argue in their Memorandum in Opposition to the State Defendants’ Motion to Stay, the
Plaintiffs “do not challenge these Defendants’ enactment of any law” but instead, “they allege that

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        The State Defendants appeal the Court’s decision and argue that a stay in

this case is warranted under the collateral order doctrine – which is invoked based

on their assertion of Eleventh Amendment and legislative immunity.6 Blinco v.

Green Tree Servicing, LLC, 366 F.3d 1249, 1251 (11th Cir. 2004) (“The filing of a

notice of appeal is an event of jurisdictional significance – it confers jurisdiction

on the court of appeals and divests the district court of its control over those

aspects of the case involved in the appeal.”) Furthermore, the State Defendants

argue that, although there is an exception to the collateral order doctrine where the

appeal is frivolous, they maintain that their appeal is not frivolous.

        Plaintiffs, on the other hand, contend that the appeal is indeed frivolous, and

that the State Defendants’ motion should be denied. (See Curling Plaintiffs’ Mem.

Opp., Doc. 323 at 9, citing Blinco, 366 F.3d at 1251-52) (holding that the concern

about frivolous appeals is equally applicable to appeals in the context of a finding




Defendants’ administration and enforcement of existing state law violates the Constitution.”
(Doc. 323 at 18, citing SEB Rule 183-1-12 and the Curling Plaintiffs’ Second Am. Compl., ¶¶ 24,
38, 62, 74-75, 165) (emphasis in original).) Thus, the Curling Plaintiffs maintain that no part of
their suit is premised on rulemaking. (Id.) (CM/ECF page references.) See Scott v. Taylor, 405
F.3d 1251, 1256-57 (11th Cir. 2005) (holding that legislative immunity applies to claims against
state defendant legislators acting in their legislative capacities but that plaintiff still has access to
a remedy for the challenged redistricting based on her claims against the County Board of
Elections, which is responsible for enforcement and implementation of the voting district.)
6 The parties do not dispute that the collateral order doctrine is not invoked for appeals based on

standing. See Summit Med. Assoc., 180 F.3d at 1334-35 (citing cases). The State Defendants
nonetheless devote a majority of their brief to challenging the Court’s standing determination as
being “inextricably intertwined” with both the legislative and Eleventh immunity determinations
which are entitled to direct appeal. (Defs.’ Mot. to Stay, Doc. 320-1 at 10-11, 13-22.) The Eleventh
Circuit rejected similar arguments by the defendants in Summit Med. Assoc., and declined to
exercise discretionary pendent appellate jurisdiction because the “defendants’ arguments
regarding the plaintiffs’ alleged failure to show that they face an imminent and credible threat …
with respect to standing are completely irrelevant to the Eleventh Amendment immunity issue”
raised on direct appeal. Id. at 1335-36.

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of government immunity and if the appeal is found frivolous, the district court

“may carry on with the case”). Both the Curling and Coalition Plaintiffs contend

that staying the case would severely prejudice them and that the State Defendants’

ongoing course of actions and omissions significantly burden their First and

Fourteenth Amendment interests in a vital ongoing electoral context.

       This case presents evolving special circumstances and cyber issues affecting

the integrity of the voting process (and results) at this particular moment in

history. While the Court has found that Defendants have not provided a sound

legal basis to support their Eleventh Amendment and legislative immunity

defenses, it is not prepared to declare the Defendants’ position wholly frivolous in

this context. Upon careful review, the Court determines that a stay of this case is

therefore warranted7 and that the State Defendants’ appeal divests this Court of

jurisdiction over the matter. The Court therefore GRANTS the State Defendants’

Motion [Doc. 320] and ORDERS this case STAYED pending the Eleventh

Circuit’s decision on the current appeal.8                The Court DENIES the Curling

Plaintiffs’ Motion for Oral Argument [Doc. 325] and STAYS all other pending

motions.




7 The Court reaches this finding despite the unfortunate mischaracterizations of the proceedings,
complaint allegations, and rulings that pepper the State Defendants’ brief in support of their
motion.
8 In their motion before the Court, Defendants request that the Court of Appeals exercise pendant

jurisdiction over this Court's ruling on standing issues. This request falls outside the ambit of this
Court's decision-making and authority and is therefore not addressed here.


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IT IS SO ORDERED this 23rd day of October, 2018.



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                            AMY TOTENBERG
                            UNITED STATES DISTRICT JUDGE




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